Case 2:21-cv-00029-JRG-RSP Document 1-1 Filed 01/29/21 Page 1 of 22 PageID #: 52




                EXHIBIT A
Case 2:21-cv-00029-JRG-RSP Document 1-1 Filed 01/29/21 Page 2 of 22 PageID #: 53
Case 2:21-cv-00029-JRG-RSP Document 1-1 Filed 01/29/21 Page 3 of 22 PageID #: 54
Case 2:21-cv-00029-JRG-RSP Document 1-1 Filed 01/29/21 Page 4 of 22 PageID #: 55
Case 2:21-cv-00029-JRG-RSP Document 1-1 Filed 01/29/21 Page 5 of 22 PageID #: 56
Case 2:21-cv-00029-JRG-RSP Document 1-1 Filed 01/29/21 Page 6 of 22 PageID #: 57
Case 2:21-cv-00029-JRG-RSP Document 1-1 Filed 01/29/21 Page 7 of 22 PageID #: 58
Case 2:21-cv-00029-JRG-RSP Document 1-1 Filed 01/29/21 Page 8 of 22 PageID #: 59
Case 2:21-cv-00029-JRG-RSP Document 1-1 Filed 01/29/21 Page 9 of 22 PageID #: 60
Case 2:21-cv-00029-JRG-RSP Document 1-1 Filed 01/29/21 Page 10 of 22 PageID #: 61
Case 2:21-cv-00029-JRG-RSP Document 1-1 Filed 01/29/21 Page 11 of 22 PageID #: 62
Case 2:21-cv-00029-JRG-RSP Document 1-1 Filed 01/29/21 Page 12 of 22 PageID #: 63
Case 2:21-cv-00029-JRG-RSP Document 1-1 Filed 01/29/21 Page 13 of 22 PageID #: 64
Case 2:21-cv-00029-JRG-RSP Document 1-1 Filed 01/29/21 Page 14 of 22 PageID #: 65
Case 2:21-cv-00029-JRG-RSP Document 1-1 Filed 01/29/21 Page 15 of 22 PageID #: 66
Case 2:21-cv-00029-JRG-RSP Document 1-1 Filed 01/29/21 Page 16 of 22 PageID #: 67
Case 2:21-cv-00029-JRG-RSP Document 1-1 Filed 01/29/21 Page 17 of 22 PageID #: 68
Case 2:21-cv-00029-JRG-RSP Document 1-1 Filed 01/29/21 Page 18 of 22 PageID #: 69
Case 2:21-cv-00029-JRG-RSP Document 1-1 Filed 01/29/21 Page 19 of 22 PageID #: 70
Case 2:21-cv-00029-JRG-RSP Document 1-1 Filed 01/29/21 Page 20 of 22 PageID #: 71
Case 2:21-cv-00029-JRG-RSP Document 1-1 Filed 01/29/21 Page 21 of 22 PageID #: 72
Case 2:21-cv-00029-JRG-RSP Document 1-1 Filed 01/29/21 Page 22 of 22 PageID #: 73
